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       United States of America
 9
10                             UNITED STATES DISTRICT COURT
11                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
12                                    WESTERN DIVISION
13     UNITED STATES OF AMERICA,                     No. 2:18-cv-00803-MWF-JEM
14                Plaintiff,
                                                     Notice of Settlement
15                       v.
16     JANE BOYD,
17                Defendant.                         Hon. Michael W. Fitzgerald
18
19                                NOTICE OF SETTLEMENT
20           On November 19, 2021, plaintiff United States of America accepted a settlement
21     offer submitted by defendant Jane Boyd.
22     //
23     //
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 1           The parties request 30 days to prepare and file the necessary documents to
 2     memorialize the settlement and close this case.
 3
 4      Dated: November 19, 2021                 Respectfully submitted,
 5                                               TRACY L. WILKISON
                                                 United States Attorney
 6                                               THOMAS D. COKER
                                                 Assistant United States Attorney
 7                                               Chief, Tax Division
 8                                               /s/ John D. Ellis
                                                 JOHN D. ELLIS
 9                                               Assistant United States Attorney
10                                               Attorneys for Plaintiff
                                                 UNITED STATES OF AMERICA
11
12                                               LAW OFFICES OF A. LAVAR TAYLOR
                                                 LLP
13
        Dated: November 19, 2021                 /s/ A. Lavar Taylor
14                                               A. LAVAR TAYLOR
                                                 Attorney for Defendant JANE BOYD
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1                                    SIGNATURE ATTESTATION
2            Pursuant to Local Rule 5-4.3.4(a)(2), I hereby attest that all signatories listed
3      above, and on whose behalf this filing is submitted, concur in the filing’s content and
4      have authorized the filing.
5
6       Dated: 1RYHPEHU, 2021                  Respectfully submitted,
7                                                 TRACY L. WILKISON
                                                  United States Attorney
8                                                 THOMAS D. COKER
                                                  Assistant United States
9                                                 Attorney Chief, Tax Division
10                                                   /s/ John D. Ellis
                                                  JOHN D. ELLIS
11                                                Assistant United States Attorney
12                                                Attorneys for Plaintiff
                                                  UNITED STATES OF AMERICA
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